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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 NATIONAL TREASURY
 EMPLOYEES UNION, et al.,

                              Plaintiffs,

                         v.                                    Case No. 1:25-cv-00381-ABJ

 Russell VOUGHT, in his official capacity as
 Acting Director of the Consumer Financial
 Protection Bureau, et al.,
                           Defendants.


                                        [PROPOSED] ORDER

        On consideration of the Motion by 203 Members of Congress for leave to file an amicus

curiae brief in support of Plaintiffs’ motion for a preliminary injunction, see ECF No. 14, and the

entire record herein, it is hereby:

        ORDERED that the motion is GRANTED. The Clerk of Court is directed to file 203

Members of Congress’s Amicus Curiae Brief in Support of Plaintiffs’ Motion for a Preliminary

Injunction, attached as Exhibit 1, onto the electronic case docket in the above-captioned matter.

        SO ORDERED.

This _______ day of ____________, 2025.

                                                            BY THE COURT:

                                                            _________________________________
                                                            The Honorable Judge Amy B. Jackson
                                                            United States District Court Judge
